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                   EXHIBIT 12
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 From: Eckstein, Maya
 Sent: Tuesday, September 12, 2023 3:19 PM
 To: D. Yerushalmi
 Cc: King, Jeremy; Elliker, Kevin; Cindy Page; Powell, Lewis; Damon Porter; Ehson, Kashfipour; Sehla Ashai
 Subject: RE: Doe v Mast/Documents Produced by USCCB in Response to Subpoena`

 David, I am following up on the emails below.

 First, from our discussion with USCCB’s general counsel, Will Quinn, it is evident that you/your client
 handled this subpoena in a manner intended to prevent Plaintiffs from having an opportunity to object
 to the subpoena before USCCB produced responsive material. Fed. R. Civ. P. 45(a)(4) explicitly requires
 “a notice and a copy of the subpoena must be served on each party” to a litigation “before [a subpoena]
 is served on the person to whom it is directed.” The Advisory Committee Notes to Rule 45 explain that
 this provision is “intended to achieve the original purpose of enabling the other parties to object . . . .”
 Despite this Rule, we understand that your client, Richard Mast, repeatedly called and emailed USCCB
 employees in an effort to obtain the subpoena-ed documents – more than 20 times. You then
 electronically served the subpoena on USCCB on Sept. 5, but placed the subpoena in regular mail when
 serving it on Plaintiffs’ counsel and not otherwise providing any notice to Plaintiffs’ counsel until after
 USCCB already had responded to the subpoena. This, despite the fact that all other service in this case,
 including your service of Richard Mast’s discovery requests and responses, has been made by email.
 Indeed, I did not receive my “snail mail” service copy of the subpoena until yesterday, September 11 –
 five days after USCCB already had responded to the subpoena.

 In the future, please serve all subpoenas on counsel in a timely manner, providing proper notice, via
 email.

 Second, setting aside for this moment the (in)appropriateness of your self-declared deadline for
 “sequestration,” Plaintiffs will withdraw the privilege assertion relating to the memo from Martha
 Jenkins based on information provided by USCCB regarding Ms. Jenkins’ role while working with USCCB.
 You already have it from USCCB, and we will produce our copy of it.

 Thank you.

 Maya
